                 Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 1 of 24 Page ID #:418



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             9
                                        UNITED STATES DISTRICT COURT
          10
                                       CENTRAL DISTRICT OF CALIFORNIA
          11

          12        JANE DOE,                            )   Case No. 2:18-cv-09530 SVW (GJSx)
                                                         )
          13              Plaintiff,                     )   PLAINTIFF’S OPPOSITION TO
                                                         )   DEFENDANT GEORGE TYNDALL,
          14              v.                             )   M.D.’S MOTION TO DISMISS
                                                         )   PLAINTIFF’S FIRST AMENDED
          15        UNIVERSITY OF SOUTHERN               )   COMPLAINT
                    CALIFORNIA, a California             )
          16        Corporation, BOARD OF                )   Date: April 8, 2019
                    TRUSTEES OF THE UNIVERSITY           )   Time: 1:30 p.m.
          17        OF SOUTHERN CALIFORNIA, an           )   Dept.: Courtroom 10A
                    entity, form unknown; and GEORGE     )
          18        TYNDALL, M.D., an individual, and    )
                    DOES 1 to 100, inclusive;            )   Honorable Stephen V. Wilson
          19                                             )   Courtroom 10A
                          Defendants.                    )
          20                                             )   Action filed: November 9, 2018
                                                         )   Trial Date: None set
          21       ///
          22       ///
          23       ///
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LAW OFFICES OF
                                                         -1-
                               PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                               TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                 Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 2 of 24 Page ID #:419



             1                                                 Table of Contents
             2                                                                                                                   Page
             3     I.     INTRODUCTION ...................................................................................... 1
             4     II.    RELEVANT FACTS .................................................................................. 2
             5     III.   STANDARDS .............................................................................................. 4
             6            A.       Motion to Dismiss ............................................................................. 4
             7     IV.    ANALYSIS .................................................................................................. 5
             8            A.       Ms. Doe’s FAC is not barred by any statute of limitations. ......... 5
             9                     1.       Ms. Doe discovered her claims in 2018. .................................. 5
          10                       2.       Defendant fraudulently concealed Ms. Doe’s claims. ............. 7
          11              B.       Unruh Act: The FAC states a claim for violation of
          12                       Civil Code § 51. ............................................................................... 10
          13              C.       Ms. Doe’s inclusion of claims under Civil Code § 51.9
          14                       and § 52.4 was inadvertent. ........................................................... 11
          15              D.       Bane Act: The FAC sufficiently alleges facts that
          16                       Defendant interfered with Ms. Doe’s rights through
          17                       threat, intimidation, or coercion. .................................................. 11
          18              E.       Sexual Assault and Battery: The FAC states facts on
          19                       which relief may be granted for assault and battery. ................. 12
          20              F.       Constructive Fraud: The FAC sufficiently alleges a claim
          21                       for constructive fraud against Dr. Tyndall. ................................. 13
          22              G.       Intentional Infliction of Emotional Distress: The FAC
          23                       sufficiently alleges a claim for IIED. ............................................ 14
          24              H.       Negligent Infliction of Emotional Distress: The FAC
          25                       sufficiently alleges a claim for NIED. ........................................... 15
          26              I.       UCL: The FAC sufficiently alleges a claim for unfair
          27                       competition under Business & Professions Code
          28                       § 17200, et seq. ................................................................................ 15
LAW OFFICES OF
                                                                     -i-
                                  PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                                  TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                 Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 3 of 24 Page ID #:420



             1                                     Table of Contents - Continued
             2                                                                                                             Page
             3           J.      Ms. Doe’s claim for punitive damages is valid. ........................... 16
             4           K.      Should the Court find any merit to Defendant’s
             5                   Motion, Ms. Doe must be granted leave to amend. ..................... 17
             6     V.    CONCLUSION ......................................................................................... 17
             7

             8

             9

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          28
LAW OFFICES OF
                                                                      - ii -
                                 PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                                 TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                 Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 4 of 24 Page ID #:421



             1                                                    c
                   Agarwal v. Johnson,
             2          25 Cal.3d 932 (1979) .................................................................................. 14
             3     Amen v. Merced County Title Co.,
                        58 Cal.2d 528 (1962) .................................................................................... 9
             4
                   Andrews Farms v. Calcot, Ltd.,
             5          693 F.Supp.2d 1154 (E.D. Cal. 2010) ........................................................ 13
             6     April Enterprises, Inc. v. KTTV,
                         147 Cal.App.3d 805 (1983) .......................................................................... 6
             7
                   Ashcraft v. King,
             8          228 Cal.App.3d 604, (1991) ....................................................................... 13
             9     Ashcroft v. Iqbal,
                        556 U.S. 662 (2009)...................................................................................... 4
          10
                   Beliveau v. Caras,
          11             873 F.Supp. 1393 (C.D.Cal. 1995) ............................................................. 11
          12       Bell Atlantic Corp. v. Twombly,
                         550 U.S. 544 (2007)...................................................................................... 4
          13
                   Burrows v. Redbud Cmty. Hosp. Dist.,
          14            188 F.R.D. 356 (N.D. Cal. 1997) ............................................................... 16
          15       Cel-Tech Communications, Inc. v. Los Angeles Cellular Telephone Co.,
                         20 Cal.4th 163 (1999) ................................................................................. 15
          16
                   DeRose v. Carswell,
          17            196 Cal.App.3d 1011 (1987) ...................................................................... 14
          18       Eminence Capital, LLC v. Aspeon, Inc.,
                        316 F.3d 1048 (9th Cir.2003) ..................................................................... 17
          19
                   Erie Railroad Co. v. Tompkins,
          20             304 U.S. 64 (1938)...................................................................................... 16
          21       Estate of Prasad ex rel. Prasad v. County of Sutter,
                         958 F.Supp.2d 1101 (E.D. Cal. 2013) .................................................. 16, 17
          22
                   Fox v. Ethicon Endo-Surgery, Inc.,
          23             35 Cal.4th 797 (2005) ........................................................................... 5, 6, 7
          24       Gafcon, Inc. v. Ponsor & Associates,
                        98 Cal.App.4th 1388 (2002) ....................................................................... 15
          25
                   Hailey v. California Physicians’ Service,
          26             158 Cal.App.4th 452 (2007) ....................................................................... 15
          27       Hanna v. Plumer,
                        380 U.S. 460 (1965).................................................................................... 16
          28
LAW OFFICES OF
                                                                         - iii -
                                    PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                                    TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                 Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 5 of 24 Page ID #:422



             1                                      Table of Authorities - Continued
                                                                                                                                Page
             2     Cases - Continued
             3     Jackson v. E. Bay Hosp.,
                         980 F. Supp. 1341 (N.D. Cal. 1997) ..................................................... 16, 17
             4
                   Jolly v. Eli Lilly & Co.,
             5            44 Cal.3d 1103 (1988) .................................................................................. 6
             6     Kahle v. Gonzales,
                         474 F.3d 665 (9th Cir. 2007) ........................................................................ 5
             7
                   Kaplan v. Mamelak,
             8          162 Cal.App.4th 637 (2008) ................................................................. 12, 13
             9     Mark K. v. Roman Catholic Archbishop,
                        67 Cal.App.4th 603 (1998) ..................................................................... 9, 10
          10
                   Migliori v. Boeing North American, Inc.,
          11             114 F.Supp.2d 976 (C.D. Cal. 2000) .......................................................... 10
          12       Moreno v. Sanchez,
                        106 Cal.App.4th 1415 (2003) ....................................................................... 6
          13
                   Neel v. Magana, Olney, Levy, Cathcart & Gelfand,
          14             6 Cal.3d 176 (1971) ...................................................................................... 9
          15       Norgart v. Upjohn Co.,
                        21 Cal.4th 383 (1999) ................................................................................... 5
          16
                   Oppenheimer v. Southwest Airlines Co.,
          17            No. 13-CV-260-IEG BGS, 2013 WL 3149483
                        (S.D. Cal. June 17, 2013)............................................................................ 16
          18
                   Ovando v. County of Los Angeles,
          19            159 Cal.App.4th 42 (2008) ........................................................................... 6
          20       Parsons v. Tickner,
                        31 Cal.App.4th 1513 (1995) ......................................................................... 6
          21
                   Pashley v. Pacific Electric Railway Co.,
          22             25 Cal.2d 226 (1944) ............................................................................ 5, 8, 9
          23       Plotnik v. Meihaus,
                         208 Cal.App.4th 1590 (2012) ..................................................................... 12
          24
                   Potter v. Firestone Tire & Rubber Co.,
          25             6 Cal.4th 965 (1993) ................................................................................... 14
          26       Rutherford v. Rideout Bank,
                         11 Cal.2d 479 (1938) .................................................................................... 9
          27
                   Scalia v. County of Kern,
          28
LAW OFFICES OF
                         308 F.Supp.3d 1064 (E.D. Cal. 2018) ........................................................ 16
                                                        - iv -
                                    PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                                    TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                 Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 6 of 24 Page ID #:423



             1                                        Table of Authorities - Continued
                                                                                                                                     Page
             2     Cases - Continued
             3     Sellery v. Cressey,
                          48 Cal.App.4th 538 (1996) ......................................................................... 14
             4
                   So v. Shin,
             5            212 Cal.App.4th 652 (2013) ....................................................................... 12
             6     Spears v. City and County of San Francisco,
                         No. C 06-4968 VRW, 2008 WL 2812022
             7           (N.D. Cal., July 21, 2008)........................................................................... 12
             8     Stafford v. Shultz,
                          42 Cal.2d 767 (1954) .................................................................................... 8
             9
                   Swartz v. KPMG LLP,
          10             476 F.3d 756 (9th Cir. 2007) ........................................................................ 4
          11       Ward v. Westinghouse Canada, Inc.,
                        32 F.3d 1405 (9th Cir.1994) ......................................................................... 6
          12
                   Wohlgemuth v. Meyer,
          13            139 Cal.App.2d 326 (1956) .......................................................................... 8
          14       Younan v. Equifax Inc.,
                        111 Cal.App.3d 498 (1980) ........................................................................ 13
          15

          16       Statutes
          17       Business & Professions Code § 17200 ................................................................. 15
          18       Business & Professions Code § 17204 ................................................................. 15
          19       California Code of Civil Procedure § 425 ...................................................... 16, 17
          20       Civil Code § 51 ......................................................................................... 10, 11, 15
          21       Civil Code § 52 ..................................................................................................... 11
          22       Civil Code § 1573 ................................................................................................. 15
          23       Civil Code § 1708 ................................................................................................. 15
          24       Federal Rules of Civil Procedure § 8 .................................................................... 17
          25       Federal Rules of Civil Procedure § 12 .............................................................. 4, 16
          26       Federal Rules of Civil Procedure § 15 .................................................................. 17
          27       Other Authorities
          28
LAW OFFICES OF
                   CACI No. 1301 ..................................................................................................... 12
                                                                       -v-
                                     PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                                     TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                 Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 7 of 24 Page ID #:424



             1          PLAINTIFF’S OPPOSITION TO TYNDALL’S MOTION TO DISMISS
             2     I.     INTRODUCTION
             3            Defendants University of Southern California (“USC”) and USC’s Board of
             4     Trustees (the “Board”, and collectively, the “USC Defendants”) hired a predatory
             5     physician, Dr. George Tyndall (“Dr. Tyndall” or “Defendant”), as the USC
             6     Defendants’ sole, full-time gynecologist at the student health center. Dr. Tyndall
             7     used his position of confidence and power to sexually assault Plaintiff Jane Doe
             8     (“Ms. Doe”) in 1991. For decades, the USC Defendants concealed Dr. Tyndall’s
             9     pervasive sexual abuse and harassment of female patients, while Dr. Tyndall
          10       continued to prey on USC’s young female student population.
          11              When Dr. Tyndall’s pervasive abuse finally came to light in 2018 in a
          12       newspaper article, Ms. Doe realized she had been betrayed and violated by the very
          13       institution that she once had much pride in, and the horrific reality of Dr. Tyndall’s
          14       “medical care” set in. Ms. Doe brought this action, alleging claims against USC, its
          15       Board of Trustees, and Dr. Tyndall.
          16              Defendant now brings this Motion to Dismiss to prevent Ms. Doe from
          17       having her day in court. Defendant’s motion challenges Ms. Doe’s complaint on
          18       several bases, most of which stem from Defendant’s contentions that the statute of
          19       limitations has run and, incredibly, that sexual assault is not actionable on the civil
          20       rights, tort, and statutory theories alleged by Ms. Doe. First, Defendant’s statute of
          21       limitations argument is meritless as Defendant’s reprehensible conduct in actively
          22       hiding his misconduct estops him from benefitting from the concealment. Second,
          23       sexual assault indeed constitutes a deprivation of civil rights, battery, and unlawful
          24       discrimination. As a result, Defendant has failed to assert any meritorious
          25       argument regarding the sufficiency of Ms. Doe’s claims.
          26              Defendant also seeks to strike Ms. Doe’s claim for punitive damages on the
          27       ground that Ms. Doe cannot pray for punitive damages without prior court order.
          28       This argument is unsupported by the weight of authority on this issue.
LAW OFFICES OF
                                                         -1-
                                PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                                TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                 Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 8 of 24 Page ID #:425



             1           Accordingly, because Defendant has failed to assert any basis on which to
             2     dismiss Ms. Doe’s claims, his motion must be denied. However, if the Court is
             3     inclined to grant any part of Defendant’s motion, Ms. Doe should be freely granted
             4     leave to amend the complaint.
             5     II.   RELEVANT FACTS
             6           USC hired Dr. Tyndall in 1989 to work at its student health clinic as the sole
             7     full-time gynecologist. Ms. Doe’s First Amended Complaint, Dkt No. 38 [“FAC”]
             8     ¶ 9. Over the span of three decades, or about sixty school semesters, Dr. Tyndall
             9     treated tens of thousands of female students, many of them teenagers seeing a
          10       gynecologist for the first time. FAC ¶ 9. Few, if any, of the young women who lay
          11       down on Dr. Tyndall’s exam table at the student health center knew that he had
          12       been accused repeatedly of misconduct. FAC ¶ 9.
          13             Such allegations included the claims that, while he worked, Dr. Tyndall
          14       would make unseemly comments, describing patients’ skin as “flawless,”
          15       “creamy” or “beautiful,” according to multiple witnesses. FAC ¶ 14. He remarked
          16       on students’ “perky breasts.” “They stand right up there, don’t they?” he was
          17       recalled as saying. FAC ¶ 14.
          18             The allegations continued that, during some exams, Dr. Tyndall made
          19       explicit reference to sexual intercourse while his fingers were inside patients; for
          20       example, he would tell young ladies with their hymens intact: “Don’t worry about
          21       it, your boyfriend’s gonna love it.” FAC ¶ 20.
          22             Ms. Doe attended the University of Southern California from approximately
          23       1990 to 1993. FAC ¶ 1. As her complaint alleges, during the second semester of
          24       her freshman year at USC, in or about March of 1991, Ms. Doe was subjected to
          25       medical examination by Dr. Tyndall one time. FAC ¶ 4. As a result of this patient-
          26       physician relationship, Ms. Doe had a confidential, privileged, and/or fiduciary
          27       relationship with Defendant and placed her trust in Defendant. FAC ¶ 58.
          28             During his medical examination of Ms. Doe, Dr. Tyndall molested, sexually
LAW OFFICES OF
                                                        -2-
                               PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                               TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                 Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 9 of 24 Page ID #:426



             1     abused, and sexually harassed her, including but not limited to by an unnecessarily
             2     aggressive inspection of Ms. Doe’s private parts. FAC ¶ 5. During the
             3     examination, Dr. Tyndall felt her breasts, put his fingers inside her vagina and
             4     anus, and aggressively moved first his fingers, and then a speculum around inside
             5     her. Dr. Tyndall also made grossly inappropriate remarks during his examination.
             6     FAC ¶ 5. For example, when Ms. Doe told Dr. Tyndall that she was having
             7     difficulty finding the string of her tampon, he remarked “You are such an idiot -
             8     don’t you know it’s not a black hole? Haven’t you had sex before?” and words to
             9     that effect. FAC ¶ 6.
          10             Dr. Tyndall misrepresented that his conduct was for a legitimate medical
          11       purpose and/or conformed to accepted medical practice. FAC ¶ 55. Dr. Tyndall
          12       concealed the existence of Ms. Doe’s claims and the fact that Ms. Doe had a cause
          13       of action against Tyndall and/or USC at the time his sexual assaults occurred by
          14       misrepresenting that his conduct was for a legitimate medical purpose and/or
          15       conformed to accepted medical practice. FAC ¶ 55.
          16             After years and years of Dr. Tyndall’s outrageous sexual abuse of USC
          17       students, USC administrators allowed him to resign quietly with a financial payout
          18       in 2017. FAC ¶ 30. The terms of the deal included the offer that if Dr. Tyndall
          19       would agree to resign, he would be given a severance, and the conclusion of the
          20       USC investigation would be changed to “no finding.” FAC ¶ 30.
          21             Dr. Tyndall’s resignation was effective June 30, 2017. USC did not inform
          22       Dr. Tyndall’s patients. FAC ¶ 31. An October communication advised that Dr.
          23       Tyndall was “no longer with the University of Southern California.” FAC ¶ 31.
          24       Dr. Tyndall renewed his California medical license in January 2018 and has been
          25       quoted as saying that he intends to work well into his eighties. FAC ¶ 33.
          26             In 2018, Ms. Doe read a news article in the Los Angeles Times about
          27       Defendants USC, the Board, and Dr. Tyndall that brought forth the realization that
          28       she had been betrayed and violated by the very institution that she once had much
LAW OFFICES OF
                                                          -3-
                               PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                               TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 10 of 24 Page ID #:427



             1   pride in, and the horror of the reality of Dr. Tyndall’s “medical care” set in. FAC ¶
             2   7. As such, on November 9, 2018, Plaintiff Jane Doe filed her complaint asserting
             3   these allegations. A First Amended Complaint was filed and served on February
             4   27, 2019. The FAC asserts 16 causes of action: (1) Violation of Title IX; (2) Unruh
             5   Act Violation (Civil Code § 51); (3) Sexual Harassment (Civil Code § 51.9); (4)
             6   Bane Act Violation (Civil Code § 52.1); (5) Gender Violence (Civil Code § 52.4);
             7   (6) Sexual Assault; (7) Sexual Battery (Civil Code § 1708.5); (8) Constructive
             8   Fraud (Civil Code § 1573); (9) Violation of Cal. Ed. Code § 66270; (10)
             9   Negligence; (11) Negligence Per Se; (12) Negligent Hiring, Supervision and
          10     Retention; (13) Negligent Failure to Warn; (14) Intentional Infliction of Emotional
          11     Distress (IIED); (15) Negligent Infliction of Emotional Distress (NIED); and (16)
          12     Unfair Business Practices (Cal. Bus. & Prof. Code § 17200). Causes of action 5-7
          13     are not asserted against Defendants USC or the Board.
          14            On March 11, 2019, Defendant moved for an order dismissing the FAC as
          15     against him under Federal Rules of Civil Procedure, Rule 12(b)(6). Defendant also
          16     moves for “dismissal” of punitive damages. As set forth below in detail, Ms. Doe
          17     zealously opposes Defendant’s motion. Further, even if the Court finds merit in
          18     Defendant’s arguments, Ms. Doe should be allowed an opportunity to further
          19     amend her complaint to allege facts that the Court may find lacking.
          20     III.   STANDARDS
          21               A. Motion to Dismiss
          22            Rule 12(b)(6) (failure to state a claim) provides that a complaint must allege
          23     facts sufficient to “raise a right to relief above the speculative level.” Bell Atlantic
          24     Corp. v. Twombly, 550 U.S. 544, 555 (2007). The plaintiff must plead affirmative
          25     factual content that “allows the court to draw the reasonable inference that the
          26     defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662
          27     (2009). “In ruling on a 12(b)(6) motion, a court may generally consider only
          28     allegations contained in the pleadings, exhibits attached to the complaint, and
LAW OFFICES OF
                                                          -4-
                              PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                              TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 11 of 24 Page ID #:428



             1   matters properly subject to judicial notice.” Swartz v. KPMG LLP, 476 F.3d 756,
             2   763 (9th Cir. 2007). In considering a motion to dismiss, this court accepts all of the
             3   allegations in the complaint as true and construes them in the light most favorable
             4   to the plaintiff. Kahle v. Gonzales, 474 F.3d 665, 667 (9th Cir. 2007).
             5   IV.    ANALYSIS
             6      A. Ms. Doe’s FAC is not barred by any statute of limitations.
             7          A statute of limitations period begins to run when the cause of action
             8   accrues. Fox v. Ethicon Endo-Surgery, Inc., 35 Cal.4th 797, 806 (2005). Generally
             9   speaking, a cause of action accrues at “the time when the cause of action is
          10     complete with all of its elements.” Id., citing Norgart v. Upjohn Co., 21 Cal.4th
          11     383, 397 (1999) (internal quotations omitted). “An important exception to this
          12     general rule is the discovery rule which “postpones accrual of a cause of action
          13     until the plaintiff discovers, or has reason to discover, the cause of action.” Fox, 35
          14     Cal.4th at 807 (citing Norgart, 21 Cal.4th at 397). Similarly, a party’s fraudulent
          15     concealment of facts giving rise to a cause of action will toll the statute of
          16     limitations until the facts are discovered by the plaintiff. Pashley v. Pacific Electric
          17     Railway Co., 25 Cal.2d 226, 229-30 (1944). Because both the discovery rule and
          18     tolling for fraudulent concealment apply here, Ms. Doe’s claims are timely,
          19     regardless of which statute of limitations applies.
          20               1. Ms. Doe discovered her claims in 2018.
          21            Under the discovery rule, “[a] plaintiff has reason to discover a cause of
          22     action when he or she has reason at least to suspect a factual basis for its
          23     elements.” Fox, 35 Cal.4th at 807 (citing Norgart, 21 Cal.4th at 397). “Under the
          24     discovery rule, suspicion of one or more of the elements of a cause of action,
          25     coupled with knowledge of any remaining elements, will generally trigger the
          26     statute of limitations period. Id.
          27            The discovery rule “protects those who are ignorant of their cause of action
          28     through no fault of their own. It permits delayed accrual until a plaintiff knew or
LAW OFFICES OF
                                                          -5-
                              PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                              TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 12 of 24 Page ID #:429



             1   should have known of the wrongful conduct at issue.” April Enterprises, Inc. v.
             2   KTTV, 147 Cal.App.3d 805, 832 (1983); Jolly v. Eli Lilly & Co., 44 Cal.3d 1103,
             3   1112 (1988) (“When a plaintiff reasonably should have discovered facts for
             4   purposes of the accrual of a cause of action or application of the delayed discovery
             5   rule is generally a question of fact, properly decided as a matter of law only if the
             6   evidence … can support only one reasonable conclusion.”) “[T]he question when a
             7   plaintiff actually discovered or reasonably should have discovered the facts for
             8   purposes of the delayed discovery rule is a question of fact unless the evidence can
             9   support only one reasonable conclusion.” Ovando v. County of Los Angeles, 159
          10     Cal.App.4th 42, 61 (2008); see also Ward v. Westinghouse Canada, Inc., 32 F.3d
          11     1405, 1408 (9th Cir.1994) (“Under California law, the question of when [the
          12     plaintiff] was on inquiry notice of potential wrongdoing is a factual question.”);
          13     Parsons v. Tickner, 31 Cal.App.4th 1513, 1526 (1995) (noting that delayed
          14     discovery rule applies in two situations: (1) where it would be difficult for a
          15     plaintiff to understand the breach or the resulting injuries; and (2) where the parties
          16     have a confidential or fiduciary relationship). “Delayed accrual of a cause of action
          17     is viewed as particularly appropriate where the relationship between the parties is
          18     one of special trust such as that involving a fiduciary, confidential or privileged
          19     relationship.” Moreno v. Sanchez, 106 Cal.App.4th 1415, 1424 (2003).
          20           The accrual of a cause of action in relation to the discovery rule is typically
          21     a question of fact. Fox, 35 Cal.4th at 810. “A plaintiff whose complaint shows on
          22     its face that his [or her] claim would be barred without the benefit of the discovery
          23     rule must specifically plead facts to show (1) the time and manner of discovery and
          24     (2) the inability to have made earlier discovery despite reasonable diligence.” Id. at
          25     808. The court must take as true such allegations regarding delayed discovery, as
          26     well as whether any defect in pleading could be cured. Id. at 811.
          27           Here, Ms. Doe did not discover her injuries until long after the wrongful acts
          28     occurred. FAC ¶ 7. Ms. Doe was not put on notice of her civil claims against
LAW OFFICES OF
                                                      -6-
                             PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                             TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 13 of 24 Page ID #:430



             1   Defendants by the actions taken during her examination. At no point did anyone
             2   advise her that Dr. Tyndall’s conduct was not medically appropriate or necessary.
             3   FAC ¶¶ 8, 56. At no point during or after her examination, until Ms. Doe read a
             4   newspaper article in 2018, did Defendants or anyone else advise her of Dr.
             5   Tyndall’s prior violent and sexual mistreatment of other female patients. FAC ¶¶ 8,
             6   56. Ms. Doe did not discover or suspect a factual basis for her claims prior to 2018,
             7   when she read a newspaper article entitled “A USC doctor was accused of bad
             8   behavior with young women for years. The University let him continue treating
             9   students,” by Harriet Ryan, Matt Hamilton, and Paul Pringle, which was published
          10     on May 16, 2018, in The Los Angeles Times. FAC ¶ 7.
          11           The nature of Ms. Doe’s injuries and subsequent damages, and their causal
          12     relationship to Defendant’s treatment of Ms. Doe, were not and could not have
          13     been discovered through reasonable care and diligence. FAC ¶ 58. Ms. Doe only
          14     became aware that her mistreatment by Dr. Tyndall constituted sexual battery,
          15     harassment, and assault, and/or gender-based violence in 2018, when she learned
          16     that her experience was not unique, and that other female patients of Dr. Tyndall
          17     had complained of his sex-based violence and misconduct. Until then, she did not
          18     have “a reason to at least suspect a factual basis” for her claims and did not have
          19     “information of circumstances to put her on inquiry” or an opportunity to obtain
          20     knowledge from sources open to her investigation, and could not have “made early
          21     discovery despite reasonable diligence.” Fox, 35 Cal.4th at 807-08. Ms. Doe
          22     sufficiently sets forth facts regarding the time and manner of her discovery, as well
          23     as the inability to have made earlier discovery despite reasonable diligence.
          24              2. Defendant fraudulently concealed Ms. Doe’s claims.
          25           “[T]he defendant, having by fraud or deceit concealed material facts and by
          26     misrepresentations hindered the plaintiff from bringing an action within the
          27     statutory period, is estopped from taking advantage of his own wrong.” Pashley,
          28     25 Cal.2d at 231. “Otherwise, in such cases, the defendant, by concealing his fraud,
LAW OFFICES OF
                                                        -7-
                             PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                             TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 14 of 24 Page ID #:431



             1   would effectively block recovery by the plaintiff because of the intervention of the
             2   statute of limitations.” Id. at 232.
             3          “The same conclusion governs when the defendant under duty of disclosure
             4   has concealed known essential facts upon which to base a recovery against him and
             5   thereby has hindered the plaintiff from bringing his action until after the statute
             6   would otherwise have terminated the period of limitation... Whether in itself it is
             7   an actionable fraud or merely suffices to toll the statute on the original obligation,
             8   the breach of a duty to disclose known facts with the intention to and which does
             9   hinder commencement of an action until the action would be outlawed, is
          10     a fraud practiced upon the plaintiff which in conscience estops the defendant’s
          11     reliance on the statute of limitations.” Pashley, 25 Cal.2d at 232.
          12            A doctor has such a duty of disclosure to his or her patient. Pashley, 25
          13     Cal.2d at 235-36 (holding that doctors’ failure to make full disclosure of plaintiff’s
          14     injuries “excused his failure to seek knowledge from independent sources and his
          15     delay in commencing the action”); Stafford v. Shultz, 42 Cal.2d 767, 775-79 (1954)
          16     (holding complaint alleged sufficient facts to toll statute of limitations based on
          17     doctors’ fraudulent misrepresentations and concealment). “The doctor-patient
          18     relationship is a fiduciary one and it is incumbent on the doctor to reveal all
          19     pertinent information to his patient. The same is true of the hospital-patient
          20     relationship. Withholding information would in a sense amount to
          21     misrepresentation.” Wohlgemuth v. Meyer, 139 Cal.App.2d 326, 331 (1956).
          22     “[T]he disclosure must be full and complete, and any material concealment or
          23     misrepresentation will amount to fraud sufficient to entitle the party injured
          24     thereby to an action.” Pashley, 25 Cal.2d at 235.
          25            “Cases in which the defendant stands in a fiduciary relationship to the
          26     plaintiff are frequently treated as if they involved fraudulent concealment of the
          27     cause of action by the defendant. The theory is that although the defendant makes
          28     no active misrepresentation, this element is supplied by an affirmative obligation to
LAW OFFICES OF
                                                         -8-
                              PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                              TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 15 of 24 Page ID #:432



             1   make full disclosure, and the non-disclosure itself is fraud.” Amen v. Merced
             2   County Title Co., 58 Cal.2d 528, 534 (1962) (citations and internal quotation marks
             3   omitted). This “prevents the fiduciary from obtaining immunity for an initial
             4   breach of duty by a subsequent breach of the obligation of disclosure.” Neel v.
             5   Magana, Olney, Levy, Cathcart & Gelfand, 6 Cal.3d 176, 189 (1971).
             6          “The injustice of allowing such fraud to become successful by reason of
             7   lapse of time and concealment is an injustice to the plaintiff, and it is precisely the
             8   same in effect and extent whether the fraud is that of the defendant or its agents.”
             9   Pashley, 25 Cal.2d at 236. “The principal, having received the benefits of his
          10     agents’ fraud, has no equity in his favor.” Lightner Mining Co., 161 Cal. at 703;
          11     see also Rutherford v. Rideout Bank, 11 Cal.2d 479, 483-84 (1938) (principal who
          12     puts agent in position to commit fraud upon third person is subject to liability for
          13     the fraud, even if agent acted solely for own purposes, principal is entirely
          14     innocent, and principal received no benefit from the transaction).
          15            Here, Ms. Doe has properly alleged that Dr. Tyndall knew his examination
          16     of her was not proper, appropriate, legitimate, and/or considered within standard of
          17     care by any physician of any specialty, including gynecology or obstetrics. FAC ¶
          18     56. Despite this knowledge, Defendant affirmatively concealed his propensity to
          19     sexually abuse female patients and his past sexual abuse. As Ms. Doe’s physician,
          20     Dr. Tyndall’s concealment of the true facts induced Ms. Doe not to file suit
          21     promptly after she was subjected to his inappropriate conduct. Defendant’s
          22     reliance on Mark K. v. Roman Catholic Archbishop, 67 Cal.App.4th 603, 613
          23     (1998), is misplaced. There, the court found that there was “no allegation …that
          24     the church concealed the fact of plaintiff's underlying injury.” Id. Here, in contrast,
          25     Ms. Doe alleges that Defendant’s actions included concealment of the impropriety
          26     of his examination, i.e., that Defendant concealed the fact of Ms. Doe’s underlying
          27     injury. Accordingly, Mark K. does not help Defendant.
          28            As a result of this intentional concealment, Ms. Doe sought medical
LAW OFFICES OF
                                                           -9-
                              PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                              TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 16 of 24 Page ID #:433



             1   treatment with Defendant. Ms. Doe had a confidential, privileged, and/or fiduciary
             2   relationship with Dr. Tyndall. FAC ¶¶ 58, 59. Dr. Tyndall owed her a fiduciary
             3   duty to disclose all material facts relating to his conduct and treatment of her. Dr.
             4   Tyndall breached his fiduciary duty to Ms. Doe by failing to disclose that what he
             5   was doing to her was not medically necessary or appropriate. If Dr. Tyndall had
             6   complied with his fiduciary duty of disclosure, Ms. Doe would have realized she
             7   had a cause of action and would have promptly sued him and USC. Dr. Tyndall’s
             8   concealment of material facts misled Doe into believing that what he was doing
             9   was medically necessary and appropriate. FAC ¶ 59.
          10           Although Defendant contends that Ms. Doe’s claims were not tolled because
          11     Ms. Doe sensed that Dr. Tyndall’s examination was improper, “suspicion of
          12     wrongdoing does not foreclose application of the fraudulent concealment
          13     doctrine.” Migliori v. Boeing North American, Inc., 114 F.Supp.2d 976, 984 (C.D.
          14     Cal. 2000). “[T]he question is not whether a plaintiff was on notice of some
          15     wrongdoing. Instead, the question is whether the plaintiff had knowledge of facts,
          16     or should have known about facts, that placed him or her on notice of the specific
          17     cause of action.” Id.
          18           Dr. Tyndall’s concealment of the true facts induced Ms. Doe not to file suit
          19     promptly after she was subjected to his inappropriate conduct. Defendant
          20     precluded Ms. Doe from finding the facts that would give notice of her particular
          21     claims. Consequently, the statute of limitations was tolled for Ms. Doe’s claims.
          22        B. Unruh Act: The FAC states a claim for violation of Civil Code § 51.
          23           The Unruh Act prohibits discrimination based on a long list of protected
          24     characteristics, including sex, requiring all “business establishments of every kind
          25     whatsoever” to provide all persons with “full and equal accommodations,
          26     advantages, facilities, privileges, or services.” Cal. Civ. Code § 51(b).
          27           Defendant asserts that Ms. Doe fails to plead she was subject to unequal
          28     treatment based on her gender. To the contrary, Ms. Doe pleads she was subject to
LAW OFFICES OF
                                                        - 10 -
                             PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                             TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 17 of 24 Page ID #:434



             1   sexual assault based on her gender. FAC ¶¶ 70-78. Sexual harassment is actionable
             2   under the Unruh Act. Beliveau v. Caras, 873 F.Supp. 1393, 1401 (C.D.Cal. 1995)
             3   (“[I]t is beyond question that sexual harassment is a form of discrimination”).
             4      C. Ms. Doe’s inclusion of claims under Civil Code § 51.9 and § 52.4 was
             5         inadvertent.
             6          Ms. Doe acknowledges that Civil Code § 51.9 and § 52.4 had not been
             7   enacted at the time of Dr. Tyndall’s assault of her, and that these statutes do not
             8   appear to apply retroactively. During the parties’ meet and confer process, Ms. Doe
             9   agree to dismiss these claims, and these claims only. However, Ms. Doe
          10     inadvertently filed the FAC without removing these claims. As a result, Ms. Doe
          11     does not oppose the dismissal of her third and fifth causes of action.
          12        D. Bane Act: The FAC sufficiently alleges facts that Defendant interfered
          13           with Ms. Doe’s rights through threat, intimidation, or coercion.
          14           The Bane Act creates a private cause of action against anyone “who
          15     interferes by threats, intimidation, or coercion, or attempts to interfere by threats,
          16     intimidation, or coercion, with the exercise or enjoyment by any individual or
          17     individuals of rights secured by the Constitution or laws of the United States, or of
          18     the rights secured by the Constitution or laws of this state.” Cal. Civ. Code §
          19     52.1(a), (b).
          20           Defendant contends that “Plaintiff does not allege that Dr. Tyndall tried to
          21     [sic] or prevented plaintiff from exercising a civil right.” This “argument borders
          22     on the frivolous.” Spears v. City and County of San Francisco, No. C 06-4968
          23     VRW, 2008 WL 2812022, at *13 (N.D. Cal., July 21, 2008). “The right to be free
          24     from sexual assault is guaranteed by California law.” Id.
          25        E. Sexual Assault and Battery: The FAC states facts on which relief may
          26           be granted for assault and battery.
          27        “The essential elements of a cause of action for assault are: (1) defendant acted
          28     with intent to cause harmful or offensive contact, or threatened to touch plaintiff in
LAW OFFICES OF
                                                         - 11 -
                                 PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                                 TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 18 of 24 Page ID #:435



             1   a harmful or offensive manner; (2) plaintiff reasonably believed she was about to
             2   be touched in a harmful or offensive manner or it reasonably appeared to plaintiff
             3   that defendant was about to carry out the threat; (3) plaintiff did not consent to
             4   defendant's conduct; (4) plaintiff was harmed; and (5) defendant's conduct was a
             5   substantial factor in causing plaintiff's harm.” So v. Shin, 212 Cal.App.4th 652,
             6   668–69 (2013) (citing CACI No. 1301; Plotnik v. Meihaus, 208 Cal.App.4th 1590,
             7   1603–04 (2012)).
             8         “The essential elements of a cause of action for battery are: (1) defendant
             9   touched plaintiff, or caused plaintiff to be touched, with the intent to harm or
          10     offend plaintiff; (2) plaintiff did not consent to the touching; (3) plaintiff was
          11     harmed or offended by defendant's conduct; and (4) a reasonable person in
          12     plaintiff's position would have been offended by the touching. So, 212 Cal.App.4th
          13     at 669 (citing CACI No. 1300; see Kaplan v. Mamelak, 162 Cal.App.4th 637, 645
          14     (2008)).
          15           Defendant first asserts that “Plaintiff does not plead facts showing Dr.
          16     Tyndall caused plaintiff to be or become apprehensive of harmful or offensive
          17     contact.” To the contrary, Ms. Doe pleads that “Plaintiff was put in imminent
          18     apprehension of a harmful or offensive contact by Dr. Tyndall and actually
          19     believed Dr. Tyndall had the ability to make harmful or offensive contact with
          20     Plaintiff’s person.” FAC ¶ 112.
          21           Defendant next contends that “[i]t is not even clear that plaintiff has pled a
          22     battery” because, Defendant argues, the “touching” was done with her consent. To
          23     the contrary, Ms. Doe alleges that she “consented to a routine examination that
          24     comported with the standards of the medical profession.” FAC ¶ 4. Instead of the
          25     proper gynecological exam to which she consented, “Dr. Tyndall felt her breasts,
          26     put his fingers inside her vagina and anus, and aggressively moved first his fingers,
          27     and then a speculum around inside her.” FAC ¶ 5.
          28     ///
LAW OFFICES OF
                                                          - 12 -
                              PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                              TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 19 of 24 Page ID #:436



             1         “As a general rule, one who consents to a touching cannot recover in an
             2   action for battery… . However, it is well-recognized a person may place conditions
             3   on the consent. If the actor exceeds the terms or conditions of the consent, the
             4   consent does not protect the actor from liability for the excessive act.” Ashcraft v.
             5   King, 228 Cal.App.3d 604, 609–610 (1991). Ms. Doe consented to a gynecological
             6   exam, not to sexual assault. Defendant may argue to the jury that this was the
             7   proper examination to which Ms. Doe consented; however, at this stage, Ms. Doe’s
             8   allegations that “Plaintiff did not consent to Dr. Tyndall[’s] intended harmful or
             9   offensive contact with Plaintiff’s person, or intent to put Plaintiff in imminent
          10     apprehension of such contact” must be accepted as true. FAC ¶ 114; see Kaplan v.
          11     Mamelak, 162 Cal.App.4th 637, 647 (2008) (holding scope of consent to a medical
          12     procedure is a question for the trier of fact).
          13           Accordingly, Plaintiff has sufficiently alleged claims for sexual assault and
          14     battery.
          15        F. Constructive Fraud: The FAC sufficiently alleges a claim for
          16           constructive fraud against Dr. Tyndall.
          17            “The elements for a cause of action for constructive fraud are fiduciary
          18     relationship, nondisclosure, reliance, and resulting injury.” Andrews Farms v.
          19     Calcot, Ltd., 693 F.Supp.2d 1154, 1166 (E.D. Cal. 2010) (citing Younan v. Equifax
          20     Inc., 111 Cal.App.3d 498 (1980)).
          21           Ms. Doe has alleged all these elements for constructive fraud against
          22     Defendant. First, she alleges that “Defendant Tyndall entered into a confidential,
          23     fiduciary and special relationship with Plaintiff when he undertook a physician-
          24     patient relationship with Plaintiff.” FAC ¶ 129. She further alleges that Defendant
          25     failed to disclose his sexually abusive proclivities and the inappropriateness of his
          26     examination of Ms. Doe. FAC ¶¶ 130, 138, 140, 142. Ms. Doe also alleges that she
          27     relied on Tyndall’s non-disclosure. FAC ¶¶ 134-135. Finally, Ms. Doe alleges that
          28     she was injured by this misconduct. FAC ¶¶ 150-151. Accordingly, Ms. Doe has
LAW OFFICES OF
                                                       - 13 -
                              PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                              TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 20 of 24 Page ID #:437



             1   stated a claim for constructive fraud against Defendant.
             2         G. Intentional Infliction of Emotional Distress: The FAC sufficiently
             3             alleges a claim for IIED.
             4         Intentional Infliction of Emotional Distress (“IIED”) requires extreme and
             5   outrageous conduct with a reckless disregard of the probability of causing
             6   plaintiff's severe emotional distress. Potter v. Firestone Tire & Rubber Co., 6
             7   Cal.4th 965, 1001 (1993). “Behavior may be considered outrageous if a defendant
             8   (1) abuses a relation or position which gives him power to damage the plaintiff's
             9   interest; (2) knows the plaintiff is susceptible to injuries through mental distress; or
          10     (3) acts intentionally or unreasonably with the recognition that the acts are likely to
          11     result in illness through mental distress.” Agarwal v. Johnson, 25 Cal.3d 932, 946
          12     (1979).
          13           Defendant contends that Ms. Doe has not alleged that Dr. Tyndall’s conduct
          14     was “inappropriate” or that she suffered severe emotional distress. First, Ms. Doe
          15     alleges that Dr. Tyndall sexually assaulted her, which is extreme and outrageous
          16     conduct going beyond “inappropriate.” See DeRose v. Carswell, 196 Cal.App.3d
          17     1011, 1015, fn.6 (1987) (holding sexual assault is outrageous conduct (superseded
          18     by statute as acknowledged by Sellery v. Cressey, 48 Cal.App.4th 538, 544
          19     (1996)). Second, Ms. Doe alleges that she “has suffered and continues to suffer
          20     great pain of mind and body, shock, emotional distress, physical manifestations of
          21     emotional distress including embarrassment, loss of self-esteem, disgrace,
          22     humiliation, and loss of enjoyment of life; has suffered and continues to suffer and
          23     was prevented and will continue to be prevented from performing daily activities
          24     and obtaining the full enjoyment of life….” FAC ¶ 201. Accordingly, this fulfills the
          25     requirement to plead a claim for IIED. See Hailey v. California Physicians' Service,
          26     158 Cal.App.4th 452, 476-477 (2007) (holding the plaintiffs had sufficiently alleged
          27     a claim for IIED where they alleged they suffered “severe emotional distress,
          28     causing depression, anxiety, and physical illness”).
LAW OFFICES OF
                                                        - 14 -
                              PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                              TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 21 of 24 Page ID #:438



             1      H. Negligent Infliction of Emotional Distress: The FAC sufficiently alleges
             2         a claim for NIED.
             3         Defendant challenges this claim solely on statute of limitations grounds. As
             4   explained in full above, Ms. Doe’s claims were tolled and, as such, the claim for
             5   negligent infliction of emotional distress is timely.
             6      I. UCL: The FAC sufficiently alleges a claim for unfair competition under
             7         Business & Professions Code § 17200, et seq.
             8          Under the Unfair Competition Law (“UCL”), “a practice is prohibited as
             9   ‘unfair’ or ‘deceptive’ even if it is not ‘unlawful’ or vice versa.” Cel-Tech
          10     Communications, Inc. v. Los Angeles Cellular Telephone Co., 20 Cal.4th 163, 180
          11     (1999) (internal quotes omitted). “Virtually any law can serve as the predicate for a
          12     Business and Professions Code § 17200 action; it may be ‘“‘civil or criminal,
          13     federal, state or municipal, statutory, regulatory, or court-made. . . It is not
          14     necessary that the predicate law provide for private civil enforcement. . . .
          15     [Business and Professions Code s]ection 17200 ‘borrows’ violations of other laws
          16     and treats them as unlawful practices independently actionable under section
          17     17200 et seq.” Gafcon, Inc. v. Ponsor & Associates, 98 Cal.App.4th 1388, 1425
          18     n.15 (2002). Here, Ms. Doe alleges multiple statutory violations that serve as the
          19     predicate for a UCL claim, including Civil Code §§ 51, 1708.5, and 1573.
          20            Further, Ms. Doe has alleged that she suffered economic loss that was
          21     caused by Defendant’s prohibited conduct. FAC ¶ 221; see Bus. & Prof. § 17204.
          22        J. Ms. Doe’s claim for punitive damages is properly pled.
          23           “Because punitive damages are but a remedy, and thus neither constitutes a
          24     claim nor pertains to whether any claim has been stated, requests for punitive
          25     damages provide no basis for dismissal under Fed.R.Civ.P. 12(b)(6).”
          26     Oppenheimer v. Southwest Airlines Co., No. 13-CV-260-IEG BGS, 2013 WL
          27     3149483, at *4 (S.D. Cal. June 17, 2013). Because Defendant’s motion to dismiss
          28     punitive damages is improper under Rule 12(b)(6), it must be denied.
LAW OFFICES OF
                                                      - 15 -
                              PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                              TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 22 of 24 Page ID #:439



             1         Substantively, “[f]ederal district courts have divided on whether [California
             2   Code of Civil Procedure] § 425.13 applies in federal court.” Estate of Prasad ex
             3   rel. Prasad v. County of Sutter, 958 F.Supp.2d 1101, 1119 (E.D. Cal. 2013).
             4   “[F]ederal courts are to apply state substantive law and federal procedural law”
             5   under the doctrine of Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938). Hanna v.
             6   Plumer, 380 U.S. 460, 465 (1965).
             7         The weight of published decisions hold that § 425.13 is a procedural state
             8   statute and therefore does not apply in federal court. Id.; Jackson v. E. Bay Hosp.,
             9   980 F. Supp. 1341, 1352 (N.D. Cal. 1997); Burrows v. Redbud Cmty. Hosp. Dist.,
          10     188 F.R.D. 356, 361 (N.D. Cal. 1997); Scalia v. County of Kern, 308 F.Supp.3d
          11     1064, 1091 (E.D. Cal. 2018).
          12           Jackson held that § 425.13’s requirement that a party obtain court approval
          13     prior to seeking punitive damages against a health care provider constitutes, in
          14     essence, “method for managing or directing a plaintiff's pleadings, rather than a
          15     determination of substantive rights.” 980 F.Supp. 1341, 1352 (N.D.Cal.1997) The
          16     Jackson court, relying on intermediate California appellate court rulings that §
          17     425.13 is non-jurisdictional, waivable, and “procedural,” concluded that § 425.13
          18     “is not ‘a central feature’ of the [California] medical malpractice scheme.”
          19     Accordingly, the Jackson court adjudged § 425.13 inapplicable since it is
          20     “essentially a method of managing or directing a plaintiff's pleadings, rather than a
          21     determination of substantive rights.” Id.
          22           Under Jackson and the majority of district court decisions, California Code
          23     of Civil Procedure § 425.13 is a state procedural rule and, therefore, under its
          24     requirements do not apply in federal court. Instead, the Federal Rules of Civil
          25     Procedure govern Ms. Doe’s state law claim for punitive damages rather than §
          26     425.13. Under Rule 8(a), a pleading need only contain “a short and plain statement
          27     of the claim” and “a demand for the relief sought.” Fed.R.Civ.P. 8(a).
          28     Consequently, the plain meaning of Rule 8(a)(3) conflicts with § 425.13, making §
LAW OFFICES OF
                                                      - 16 -
                             PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                             TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 23 of 24 Page ID #:440



             1   425.13 inapplicable in federal court. Estate of Prasad ex rel. Prasad v. County of
             2   Sutter, 958 F.Supp.2d 1101, 1121 (E.D.Cal. 2013).
             3           As a result, Ms. Doe is not required under § 425.13 to obtain permission
             4   from the court when requesting punitive damages for her state law claims against
             5   Defendant.
             6        K. Should the Court find any merit to Defendants’ Motion, Ms. Doe must
             7          be granted leave to amend.
             8           Rule 15 of the Federal Rules of Civil Procedure mandates that leave to
             9   amend “be freely given when justice so requires.” Fed.R.Civ.P. 15(a). “This policy
          10     is to be applied with extreme liberality.” Eminence Capital, LLC v. Aspeon, Inc.,
          11     316 F.3d 1048, 1051 (9th Cir.2003).
          12             Thus, should the Court be inclined to dismiss any of Ms. Doe’s claim, she
          13     respectfully requests leave to amend.
          14     V.      CONCLUSION
          15             For all the foregoing reasons, Ms. Doe respectfully requests that the Court
          16     deny Defendant’s motion to dismiss in its entirety.
          17     Dated: March 18, 2019                   LAW OFFICES OF KEVIN T. BARNES
          18                                             By:      /s/ Kevin T. Barnes
                                                                  Kevin T. Barnes, Esq.
          19                                                      Gregg Lander, Esq.
                                                                  Attorneys for Plaintiffs
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LAW OFFICES OF
                                                         - 17 -
                              PLAINTIFF’S OPPOSITION TO DR. TYNDALL’S MOTION
                              TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
             Case 2:18-cv-09530-SVW-GJS Document 46 Filed 03/18/19 Page 24 of 24 Page ID #:441



             1                                  PROOF OF SERVICE
             2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             3         I, the undersigned, am over the age of 18 years and not a party to this action.
             4   My business address is 1635 Pontius Avenue, Second Floor, Los Angeles, CA
                 90025-3361, which is located in Los Angeles County, where the service herein
             5   occurred.
             6        On the date of execution hereof, I caused to be served the following attached
             7
                 document/s:

             8
                    PLAINTIFF’S OPPOSITION TO DEFENDANT GEORGE TYNDALL,
                    M.D.’S MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
             9
                    COMPLAINT

          10
                        on the interested parties in this action, addressed as follows:
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          12
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          22            using the following service method:
          23        X VIA ELECTRONIC SERVICE: The above documents were
          24
                 electronically filed with the Clerk of the Court using the CM/ECF system, which
                 sent notification of such filing to the above interested parties.
          25     I DECLARE under penalty of perjury that the foregoing is true and correct.
          26     Executed on March 18, 2019, at Los Angeles, California.
          27
                                                                /s/ Cindy Rivas
          28                                                    Cindy Rivas
LAW OFFICES OF



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                                                  PROOF OF SERVICE
